52 F.3d 321NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Agha Navid GUL, Petitioner-Appellant,v.FAIRFAX COUNTY CIRCUIT COURT, Respondent-Appellee.
    No. 95-6182.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  March 15, 1995.Decided:  April 12, 1995.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Albert V. Bryan, Jr., Senior District Judge.  (CA-94-1447)
      Agha Navid Gul, Appellant Pro Se.  Michael Thomas Judge, Office of The Attorney General of Virginia, Richmond, VA, for Appellee.
      Before RUSSELL and WILLIAMS, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion discloses that this appeal is without merit.*  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Gul v. Fairfax County Circuit Court, No. CA-94-1447 (E.D. Va.  Jan. 23, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         Because Appellant did not allege exhaustion of state remedies, nor is there evidence in the record that exhaustion has occurred, this is an appealable order.  See Domino Sugar Corp. v. Sugar Workers Local Union 392, 10 F.3d 1064 (1993)
      
    
    